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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    UNITED STATES OF AMERICA                   §
                                               §
    V.                                         §     No. 4:18CR87
                                               §     Judge Mazzant
    LAURA JORDAN (1)                           §
     a/k/a Laura Maczka                        §
    MARK JORDAN (2)                            §


                  GOVERNMENT S ADMITTED TRIAL EXHIBITS


     EX. NO.                                DESCRIPTION
         1       Copy of a PowerPoint presentation dated July & August 2011

         2A      May 3, 2013 email from lauramaczka(rt)sbc2lobal.net to
                 Ia ramaczka@sbc2l0bal.net subject line: Apartments, Wal-Mart & the
                 Inner City containing a campaign advertisement with the same title and
                 a website link to official campaign advertisements in support of Laura
                 Maczka for Mayor of the City of Richardson




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     EX. NO.                                DESCRIPTION
       2B        List of 14 Maczka for Richardson Mayor Email Campaign Archive
                 found in website linked to email dated May 3, 2013 at exhibit 2A:

                 5/12/2013: Together...We Made History!!
                 5/11/2013: Election Day!
                 5/9/2013: Tonight...Rain or Shine... Friends of Laura...Rally for
                 Richardson!
                 5/7/2013: Early voting ends today at 7pm!
                 5/5/2013: Friends of Laura.. .Rally for Richardson!
                 5/3/2013: Apartments, Wal-Mart & The Inner City.
                 4/27/21013: Alert! You will not believe what Omar said about Laura
                 4/25/2013: Quick thing...
                 4/22/2103: Not sure if you heard this!
                 4/15/2013: These Boots Were Made for Walking!
                 4/12/2013: Hey...
                 4/03/2013: Dallas Morning News Endorsement
                 3/25/2013: Can you do me a favor?
                 3/15/2013: Got Signs?

       3         April 9, 2013 Richardson Tea Party Forum Video

       4         About Sooner / Sooner Management Website: Ethics Over Everything
                 dated April 2014

       6        Articles Of Incorporation Of J&P Realty Services Inc.

       7        Limited Liability Company Agreement of JP-KBS Richardson
                Holdings, LLC dated November 2011

       8         Company Agreement of JP-Richardson, LLC dated October 31, 2011

       9        Joint Venture Agreement of JP Richardson Investors Joint Venture
                dated November 14, 2011

       10       Purchase and Sales Agreement between sellers and JP Realty Partners,
                LTD dated August 4, 2011, in the amount of $44,500,000

       12       Limited Liability Company Agreement of JP-KBS Richardson
                Holdings II, LLC dated September 4, 2014




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     EX. NO.                                   DESCRIPTION
        13       Amended and Restated Limited Liability Company Agreement of JP-
                 Palisades IV, LLC dated September 3, 2014

        14       January 23 and 30, 2014, Contract of Sale between sellers and JP-
                 Palisades IV, LLC

       15        City of Richardson Audit Report for fiscal year ending on September
                 30, 2013

       16        City of Richardson Audit Report re fiscal year ending September 30,
                 2014
       17        September 17, 2014 email from Te as DPS to Mayor Maczka re
                 Federal Homeland Security Grant

       18        City of Richardson audit spreadsheet re fiscal ending in September
                 2015
       19        May 2013 Statement of Elected Officer from the City of Richardson
                 si ned by Mayor Maczka on May 20, 2013
       20        State of Texas Oath of Office si ned by Mayor Maczka on May 20, 2013
       21        November 5, 2013 City of Richardson City Plan Commission minutes.

       22       November 19, 2013 Richardson City Plan Commission minutes.
       23       November 19, 2013 City of Richardson City Plan Commission video
                related to rezoning the Palisades property to allow for 600 apartments
                in which Mark Jordan participated
       24       December 9,2013 City of Richardson City Council meeting minutes
       25       December 9, 2013 City of Richardson City Council video in which
                Mayor Maczka and Mark Jordan participated
        26      January 27, 2014 City of Richardson City Council meeting minutes
                where the City Council adopts the December 9, 2013, Palisades
                property re-zoning ordinance

       27       January 27, 2014 City of Richardson City Council video in which
                Mayor Maczka and Mark Jordan participated
       28       January 27, 2014 City of Richardson Ordinance Number 4037
                approved by Mayor Maczka
      29A       May 20, 2014 City of Richardson City Plan Commission Minutes
      29B       May 20, 2014 City of Richardson City Plan Commission Video in which
                Mark Jordan participated

       30       June 3, 2014, City of Richardson City Plan Commission minutes


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     EX. NO.                                DESCRIPTION
        31       June 3, 2014 City of Richardson City Plan Commission video in which
                 Mark Jordan participated

        32       June 9, 2014 City of Richardson City Council minutes
        33       June 9, 2014 City of Richardson City Council video in hich Mayor
                 Maczka and Mark Jordan participated
        34       June 9, 2014 City of Richardson Ordinance Number 4051 approved by
                 Mayor Maczka
        35       August 25, 2014 JP Realty Partners letter written to Dan Johnson
                 regarding a Request for Development Incentives and signed by Mark
                 Jordan

        36       September 22, 2014 City of Richardson City Council minutes
        37       September 22, 2014 City of Richardson City Council video in which
                 Mayor Maczka participated
       38A       February 27, 2015 Application for a place on the City of Richardson
                 General Election
       38B       Local Government Officer Conflicts Disclosure Statement Form CIS
                 signed by Mayor Maczka and notarized on March 19, 2015
       39        Conflict of Interest Questionnaire Form CIQ signed and dated by Mark
                 Jordan on March 19, 2015
       41        April 20, 2015 Richardson City Council meeting video in which Mayor
                 Maczka participated

       42        April 27, 2015 City of Richardson City Work Session and Council
                 Meeting minutes
       43        April 27, 2015 City of Richardson City Council meeting video
       44        April 28, 2015 City of Richardson City Council Special Called meeting
                 minutes related to the City Ethics investigation regarding Mayor
                 Maczka and Mark Jordan and the Palisades property votes

       45       April 28, 2015 City of Richardson City Council Special Called Meeting
                video related to the City Ethics investigation regarding Mayor Maczka
                and Mark Jordan and the Palisades property votes
       47       George Staples letter dated April 9, 2015 written to Mark Jordan

       48       George Staples letter dated April 9, 2015 written to James Shepherd

       49       James Shepherd letter dated April 17, 2015 to George Staples

      50A       May 7, 2015 DEDA
      SOB       May 18, 2015 City of Richardson City Council minutes
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     EX. NO.                                DESCRIPTION
        51       Palisades Sign Photos showing Laura Maczka taken November 18, 2015

        52       January 7, 2014 Bearden Pri ate Investigation video of Mayor Maczka
                 and Mark Jordan at Watters Creek

        53       Six still photos from video of Mayor Maczka and Mark Jordan at
                 Watters Creek on January 7, 2014

        56       Holiday Inn Invoice for night of January 7, 2014

        57       American Airlines Travel Records for Mark Jordan for AA flight 259
                 on January 13, 2014 from (DEW) Dallas/Fort Worth, Texas to (SEC)
                 Salt Lake City, Utah, and AA flight 1658 on January 20, 2014 from
                 (COS) Colorado Springs, Colorado, to (DEW) Dallas/Fort Worth,
                 Texas




       58        Delta Airline Travel Records for Mayor Maczka for Delta flight 5815
                 on January 14, 2014 from (DFW) Dallas/Fort Worth, Texas, to (SLC)
                 Salt Lake City, Utah
        59       American Airlines Travel Records for Mayor Maczka for AA flight
                 2336 on January 16, 2014 from (SLC) Salt Lake City, Utah to (DFW)
                Dallas/Fort Worth, Texas
        60      Receipts and Records from Deer Valley Resort in Park City, Utah,
                Dated January 13 through 19, 2014 to Mark D. Jordan
        61      Deer Valley Resort Photos

        62      Crown Limousine in Austin invoice dated February 12, 2014 for Mark
                Jordan in the amount of $207.69
        63      Invoice from the Driskill Hotel in Austin dated February 12, 2014
                showing Mayor Maczka was booked for one night but was listed as No
                Show
        64      Southwest Airlines travel records for Mayor Maczka showing round
                trip travel from flight 1793 (DAL) Dallas, Texas to (AUS) Austin, Texas
                on February 12, 2014 and on the return flight 1015

        65      Southwest Airlines travel records for Mark Jordan showing round trip
                travel from flight 426 (DAL) Dallas, Texas to Austin, Texas on
                February 12, 2014 and on the return flight 1015




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     EX. NO.                                   DESCRIPTION
        66       American Airlines Travel Records for Mayor Maczka for AA flight 189
                 on April 15, 2014 from (DEW) Dallas/Fort Worth, Texas to (SJC) San
                 Jose, California, and AA flight 2410 on April 18, 2014 from (LAX) Los
                 Angeles, California, to (DEW) Dallas/Fort Worth, Texas

        67       American Airlines Travel Records for Mark Jordan for AA flight 2419
                 on April 16, 2014 from (DEW) Dallas/Fort Worth, Texas to (LAX) Los
                 Angeles, California, and AA flight 2410 on April 18, 2014 from (LAX)
                 Los Angeles, California, to (DEW) Dallas/Fort Worth, Texas

        68       Mark Jordan receipt from CordeValle Resort in San Martin,
                 California, dated April 16 and 17, 2014

        69       Screen Shots Hotel Reservations

        70       Photos of CordeValle Resort

        71       Southwest Airlines travel records P.23-29 Mayor Maczka s travel
                 record showing her flying on SW flight 1716 from San Jose, California
                 (SJC) to Los An eles, California (LAX) on April 17, 2014
        72       Receipt from The Ritz-Carlton Marina Del Rey dated April 17 to April
                 18, 2014




        73      Photos of The Ritz-Carlton, Marina Del Rey




        74      American Airlines Flight Manifest for AA flight 2410 on April 18, 2014
                from (LAX) Los Angeles, California, to (DEW) Dallas/Fort Worth
       76       American Airlines Travel Records for Mark Jordan for AA flight 2431
                on June 25, 2014 from (DEW) Dallas/Fort Worth, Texas to (LAX) Los
                Angeles, California, and AA flight 1554 on June 27, 2014 from (SNA)
                Santa Anna, California, to (DEW) Dallas/Fort Worth, Texas




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    EX. NO.                                 DESCRIPTION
       77        American Airlines Travel Records for Mayor Maczka for AA flight
                 1547 on June 25, 2014 from (DEW) Dallas/Fort Worth, Texas to (SNA)
                 Santa Anna, California, and AA fli ht 1554 on June 27, 2014 from
                 (SNA) Santa Anna, California, to (DEW) (seat 5F) Dallas/Fort Worth,
                 Texas



       78       Invoice for two night stay, arriving on June 25, 2014 and departing on
                June 27, 2014 at The Ritz-Carlton, Laguna Niguel, California
       79       Photos of The Ritz-Carlton, Laguna Niguel

       80       American Airlines Travel Records for Mayor Maczka for AA flight
                1554 on August 13, 2014 from (DEW) Dallas/Fort Worth, Texas to
                (SNA) Santa Anna, California, and AA Flight 1176 on August 15, 2014
                from (SNA) Santa Anna, California, to (DEW) Dallas/Fort Worth,
                Texas

       81       American Airlines Travel Records for Mark Jordan for AA flight 1554
                on August 13, 2014 from (DEW) Dallas/Fort Worth, Texas, to (SNA)
                Santa Anna, California, and AA Flight 1176 on August 15, 2014 from
                (SNA) Santa Anna, California, to (DFW) Dallas/Fort Worth, Texas



      82A       American Airlines Flight Manifest for AA flight 1554 on August 13,
                2014 from (DFW) Dallas/Fort Worth, Texas, to (SNA) Santa Anna,
                California showing Mayor Maczka and Mark Jordan
      82B       American Airlines Flight Manifest for AA flight 1176 on August 15,
                2014 from (DFW) Dallas/Fort Worth, Texas, to (SNA) Santa Anna,
                California
       83       Invoice for Montage Hotel, Laguna Beach, California with a $2,511.13
                charge for stay from August 13 to 15, 2014



       84       Photos of Montage Laguna Beach Hotel, Laguna Beach




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     EX. NO.                                    DESCRIPTION
       85        American Airlines Travel Records for Mayor Maczka for AA flight
                 2996 on September 13, 2014 from (DEW) Dallas/Fort Worth, Texas, to
                 (VPS) Destin/Fort Walton Beach, Florida, and AA fli ht 3129 on
                 September 18, 2014 from (VPS) Destin/Fort Walton Beach, Florida to
                 (DFW) Dallas/Fort Worth, Texas

       86        Receipt for the Pearl Hotel at Rosemary Beach, Florida from
                 September 16 to 18, 2014



       87        Photos of the Pearl Hotel at Rosemary Beach




      88         American Airlines Travel Records for Mark Jordan for AA flight 2530
                 on September 16 2014 from (DFW) Dallas/Fort Worth to (MOB)
                 Mobile
      89        American Airlines Travel Records for Mark Jordan for AA flight 3129
                on September 18, 2014 from (VPS) Destin/Fort Walton Beach, Florida
                to (DFW) Dallas/Fort Worth, Texas

      90        American Airlines Flight Manifest for AA flight 3129 on September 18,
                2014 from (VPS) Destin/Fort Walton Beach, Florida, to (DFW)
                Dallas/Fort Worth, Texas
      91        Southwest Airlines Travel Records for Mayor Maczka for SWA flight
                4855 on December 9, 2014 from (DAL) Dallas, Texas to (BHM)
                Birmingham, Alabama,
      92        Southwest Airlines Travel Records for Mark Jordan for SWA flight
                4855 on December 9, 2014 from (DAL) Dallas, Texas to (BHM)
                Birmingham, Alabama
      93A       American Airlines Travel Records for Mayor Maczka for AA flight
                2401 on January 23, 2015 from (DFW) Dallas/Fort Worth, Texas, to
                (LAX) Los Angeles, California and AA flight 2628 on the same day
                from (LAX )to (SLC) Salt Lake City, Utah

     93B        American Airlines Travel Records for Mayor Maczka for AA flight
                2628 on January 23, 2015 from (LAX ) to (SLC) Salt Lake City, Utah

     94         American Airlines Travel Records for Mark Jordan for AA flight 147
                on January 23, 2015 from (DFW) Dallas/Fort Worth, Texas to (SLC)
                Salt Lake City, Utah

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    EX. NO.                                 DESCRIPTION
      95         American Airlines Travel Records for Mayor Maczka for AA flight 304
                 on January 28, 2015 from (SLC) Salt Lake City, Utah to (DEW)
                 Dallas/Fort Worth, Texas

      96         American Airlines Travel Records for Mayor Maczka for AA fli ht
                 1086 on January 31, 2015 from (DEW) Dallas/Fort Worth, Texas, to
                 (SLC) Salt Lake City, Utah and American Airlines flight 1109 on
                 February 1, 2015 from (SLC) Salt Lake City, Utah to (DEW) Dallas Ft.
                 Worth

      97         American Airlines Travel Records for Mark Jordan for AA flight 1109
                 on February 1, 2015 from (SLC) Salt Lake City, Utah to (DEW)
                 Dallas/Fort Worth, Texas
      98         American Airlines Travel Records for Mayor Maczka for AA flight
                 1228 on February 11, 2015 from (DFW) Dallas/Fort Worth, Texas to
                 (SLC) Salt Lake City, Utah returning DFW on February 15, 2015 on
                 AA flight 50

      99        American Airlines Travel Records for Mark Jordan for AA flight 1228
                 on February 11, 2015 from (DFW) Dallas/Fort Worth, Texas to (SLC)
                 Salt Lake City, Utah returning DFW on February 15, 2015 on AA flight
                 50

      100       Southwest Airlines Travel Records for Mayor Maczka for flight 3426
                on February 21, 2015 from (AUS) Austin, Texas to (LAS) Las Vegas,
                Nevada

      101       American Airlines Travel Records for Mark Jordan for AA flight 1181
                on February 21, 2015 from (DFW) Dallas/Fort Worth, Texas to (LAS)
                Las Vegas, Nevada returning to DFW on February 22, 2015 on AA
                flight 1528

      102       American Airlines Travel Records for Mayor Maczka for AA flight
                1528 on February 22, 2015 from (LAS) Las Vegas, Nevada returning to
                (DFW) Dallas/Fort Worth

      103       American Airlines Travel Records for Mayor Maczka for AA flight
                5727 on March 11, 2015 from (DFW) Dallas/Fort Worth to (DRO)
                Durango, Colorado, returning on March 15, 2015 from (MTJ)
                Montrose, Colorado to (DFW) Dallas/Fort Worth on AA flight 5812



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     EX. NO.                                DESCRIPTION
       104       American Airlines Travel Records for Mark Jordan for AA flight 5727
                 on March 11, 2015 from (DEW) Dallas/Fort Worth, Texas to (DRO)
                 Durango, Colorado returning on March 15 2015 from (MTJ) Montrose,
                 Colorado to (DEW) Dallas/Fort Worth, Texas on AA flight 5812

      105        American Airlines Travel Records for Mayor Maczka for AA flight
                 2497 on March 29 2015 from (DEW) Dallas/Fort Worth, Texas to
                 (LAX) Los Angeles, California returning on March 31, 2015 to (DEW)
                 Dallas/Fort Worth on AA flight 2406

      106        American Airlines Travel Records for Mark Jordan for AA flight 2425
                 on March 29, 2015 from (DEW) Dallas/Fort Worth, Texas to (LAX) Los
                 Angeles, California returning on March 31, 2015 to (DEW) Dallas/Fort
                 Worth on AA flight 2406

      107        American Airlines Travel Records for Mayor Maczka and Mark
                 Jordan for AA flight 2563 on April 23, 2015 from (DEW) Dallas/Fort
                 Worth, Texas, to (VPS) Destin/Fort Walton Beach, Florida, and
                 returning on AA flight 2567 on April 25,2015 from (VPS) Destin/Fort
                 Walton Beach, Florida to (DFW) Dallas/Fort Worth, Texas

      108        American Airlines Travel Records for Mayor Maczka for AA flight
                 1473 on June 4, 2015 from (DFW) Dallas/Fort Worth, Texas to (ATL)
                 Atlanta, Georgia and returning on AA flight 1641 on June 7, 2015 from
                 (ATL) Atlanta, Georgia to (DFW) Dallas/Fort Worth, Texas

      109        American Airlines Travel Records for Mark Jordan for AA flight 1473
                 on June 4, 2015 from (DFW) Dallas/Fort Worth, Texas to (ATL)
                 Atlanta, Georgia and returning on AA flight 1641 on June 7, 2015 from
                 (ATL) Atlanta, Georgia to (DFW) Dallas/Fort Worth, Texas

      110        American Airlines Travel Records for Mayor Maczka and Mark
                 Jordan for AA flight 2198 on June 24, 2015 from (DFW) Dallas/Fort
                 Worth, Texas to (TPA) Tampa, Florida, returning on AA flight 2457 on
                 June 27, 2015 from (TPA) Tampa, Florida to (DFW) Dallas/Fort
                 Worth, Texas


      111        Receipt for the Montage Beverly Hills Hotel from March 29, 2015 to
                 March 31, 2015 in the amount of $4,538.83

      112        Photos Montage Beverly Hills


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     EX. NO.                                DESCRIPTION
      113        Map/Summary of Travel - locations and dates

      118        ViewPoint/Legacy Bank signature card for Mark Jordan s business
                 accounts


      119        ViewPoint/Legacy Bank statements for Sooner National Property
                 Management account ending in 3358
        120      Mark Jordan’s Wells Fargo Consumer Account Application and
                 signature card dated December 28, 2012, for PMA Premier Checking
                 Account ending with 2912
        121      Mark Jordan’s Wells Fargo Premier Checldng Account statement
                 ending with 2912 for the period from September 1 to 30, 2014

        122      Mayor Maczka’s Wells Fargo Consumer Account Application and
                 signature card dated September 8, 2014, for PMA Premier Checking
                 Account ending with 1020
        123      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 1020 for the period from September 8 to
                 October 6, 2014
        124      Mark Jordan’s Wells Fargo Premier Checking Account statement
                 ending with 2912 for the period from October 1 to 31, 2014
        125      Mayor Maczka’s Wells Fargo Consumer Account Application and
                 signature card dated October 8, 2014, for PMA Premier Checking
                 Account endin with 4928
        126      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 4928 for the period from October 1 to 31,
                 2014

        127      Mark Jordan’s Wells Fargo Premier Checking Account statement
                 ending with 2912 for the period from November 1 to 30,2014

        128      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 4928 for the period from November 1 to
                 30, 2014
        129      Mark Jordan’s Wells Fargo Premier Checking Account statement
                 ending with 2912 for the period from December 1 to 31, 2014

        130      Mark Jordan’s Wells Fargo Credits and Debits sheet from July 2014 to
                 December 2014




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     EX. NO.                                DESCRIPTION
        131      Mayor Maczka s Wells Fargo Statements Preferred Checkin
                 Statements, Account ending 4928 for the period from December 1 to 31,
                 2014

        132      Mayor Maczka s Wells Fargo Consumer Account records for account
                 ending in 4928

        133      Mark Jordan’s Wells Fargo Premier Checking Account statement
                 ending with 2912 for the period from January 1 to 31, 2015

        134      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 4928 for the period from January 1 to 31,
                 2015
        135      Mark Jordan’s Wells Fargo Premier Checking Account statement
                 endin ith 2912 for the period from February 1 to 28, 2015
        136      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 4928 for the period from February 1 to 28,
                 2015
        137      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 4928 for the period from March 1 to 31,
                 2015
        138      Mayor Maczka’s Wells Fargo Statements Preferred Checking
                 Statements, Account ending 4928 for the period from April 1 to April
                 31, 2015
        139      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of December 10, 2013 -
                 January 8, 2014

        140      Citi Credit Card Statement for Account of Mark D. Jordan, Sooner
                 National Property Management, ending with 3796 for Period of
                 December 21, 2013 - January 21, 2014

        141      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of January 9, 2014 - February
                 10, 2014

        142      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of February 11, 2014 - March
                 10, 2014




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     EX. NO.                                 DESCRIPTION
        143      Citi Credit Card Statement for Account of Mark D. Jordan, Sooner
                 National Property Management, ending with 3796 for Period of March
                 22, 2014-April 21, 2014

        144      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of April 9, 2014 - May 8, 2014

        145      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of June 10, 2014 - July 8, 2014

        146      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of July 7, 2014 - August 8,
                 2014

        147      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of August 9, 2014 - September
                 8, 2014

        148      Citi Credit Card Statement for Account of Mark D. Jordan, J&P
                 Realty, Inc. ending with 3665 for Period of September 9, 2014 -
                 October 8, 2014



        149      Summary of withdrawals/deposits
        150      Summary timeline of significant events and things of value

        158      Mav 13, 2013 email from Mark Jordan at MJordan(® JPpartners.net to
                 Mavor Maczka at lauramaczka(S)sbc2lobal.net titled RE: For the first
                 time ever


        159      October 10, 2013 email chain between Mayor Maczka at
                 Laura4richardsonmavor(S),2mail.com and Mark Jordan at
                 MJ(S)soonermana2ment.com titled Re: Lunch


        160      October 29, 2013 email from Mark Jordan at
                 MJordan@JP artners.net to Mavor Maczka at
                 Laura4richardsonmavor@2mail.com subject line “RE: Palisades
                 Development Zoning File Number ZF 13-13”




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     EX. NO.                                  DESCRIPTION
        162      November 1, 2013 email from Mark Jordan Miordan® JPpartners.net,
                 to Laura Maczka lauramaczka@sbcslobal.net titled Fwd: Shops at
                 Legacy Bus Stop

       163       November 14, 2013 email chain from
                 Laura4richardsonmavor@smail.com to Mjordan@JPpartners.net,
                 titled Re: Email revised”

       164       November 21, 2013 email from Mayor Maczka at
                 lauramaczka@sbc lobal.net to Mark Jordan at
                 MJordan@jppartners.net titled Fwd: CCHA Update: Palisades
                 Statement to City Plannin Commission”

       165       November 26. 2013 email Mark Jordan at Mjordan@JPpartners.net to
                 Mavor Maczka at lauramaczka@sbcslobal.net titled “FW: Palisades
                 FAQ”

       166       November 29, 2013 email from Rebecca Day to Mayor Maczka and
                 Steve Mitchell titled “Please clarify your stance on building apartments
                 near our neighborhood”


       167       December 3, 2013 email chain sent from Mark Jordan at
                 Mjordan@JPpartners.net to Mavor Maczka at
                 laurainaczka@sbcslobal.net titled “RE: CCHA Update: Palisades
                 Development History, Context and FAQs”

      168B       December 6, 2013 email chain from Laura Maczka to Mark Jordan
                 titled “Fwd: Q2”
      169 A      December 10, 2013 email chain from Laura Maczka to Mark Jordan
                 titled “It s not all bad!”
      169B       December 10, 2013 email from Julie Andrews to Mayor Maczka and six
                 other Richardson City Council members titled “Palisades rezoning
                 consideration”


      169D       December 11, 2013 email chain between steve.mitchell@hotmail.com
                 and lauramaczka@sbc lobal.net titled “Re: quote verification”

       170       December 12, 2013 email chain from Mayor Maczka at
                 lauramaczka@sbc lobal.net to Mjordan@JPpartners.net titled “Re:
                 Palisades Village”



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     EX. NO.                                DESCRIPTION
       171       December 30, 2013 email chain from Mark Jordan to Laura Maczka
                 titled FW: Wild flower Festival Operations
       172       January 13, 2014 email chain from Mayor Maczka at
                 Laura4richardsonmavor(fl)2niail.com to Miordan® JPpartners.net
                 titled RE: Thank you, and follow up meeting in January...

       173       January 16, 2014 email chain from Mark Jordan at
                 Miordan® JP artners.net to Mayor Maczka at
                 lauramaczka(S),sbcglobal.net titled FW: Palisades Phasing Plan”



       174       January 21, 2014 email chain from Mark Jordan to Mayor Maczka at
                 lauramaczka(«)sbc2lobal.net titled “FW: Palisades”




      175A       March 13, 2014 at 1:16 p.m. email chain from Mayor Maczka at
                 lauramaczka(n)sbcglobal.net to Mark Jordan titled “RE: FW:
                 Palisades”



      175B       March 13, 2014 at 5:58 p.m. email chain from Mayor Maczka at
                 lauramaczkafSjsbcglobal.net to Laura.Maczkaf icor. ov titled “FW:
                 Palisades



      175C       May 14, 2014 email chain sent bv patsimmonsco( )aol.com to
                 lauramaczka(S),sbcglobal.net and numerous other email accounts titled
                 “Re: Palisades”




       176       March 21, 2014 email chain from Mark Jordan to Mayor Maczka at
                 laura.maczkafSJcor.ogv titled “FW: Termite report for Twin Oaks”




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     EX. NO.                                 DESCRIPTION
       177       March 21, 2014 email chain from Mark Jordan to Mayor Maczka at
                 laura.maczka(fl)cor.gov titled FW: Inspection Report -6520 Twin
                 Oaks



       178       March 26. 2014 email from Jenny Sanchez at Jennv.Sanchez(®cor.eov
                 to Laura4richardsonmavor(S),2mail.com titled American Airlines
                 Flight Schedule to San Jose, CA - April 15-17

       179       City of Richardson provided travel records for Travel to San Jose,
                 California for an Economic Development related trip on April 15-17,
                 2014 with an email dated March 26, 2014 from Mayor Maczka to
                 Jenny Sanchez

       180       May 20, 2014 email from Sarah Ja er to Mayor Maczka titled
                 “Palisades Development - No More apartments”


       181       May 21, 2014 Calendar entry for Del Frisco s Grille, 3232 McKinney
                 Ave., Dallas for 11:30 a.m. to 12:30 p.m.

       182       June 6, 2014 at 12:35 p.m. email chain from Mark Jordan to Laura
                 Maczka titled “Fwd: UDR- construction cost”


       183       June 6, 2014 at 12:58 p.m. email chain from Mark Jordan to Laura
                 Maczka titled “Fwd: Met Life buys 50% of UDR - Virtuvian Park”

       184       June 6, 2014 at 2:44 p.m. email chain from Laura Maczka to Scott
                 Dunn and Dan Johnson titled “Fwd: Met Life buys 50% of UDR -
                 Virtuvian Park”

       185       October 21, 2014 email from Jackie Dellin er at
                 Jackie(«)kdcommerciaI.net to Mavor Maczka at
                 Laura4richardsonmavor®2mail.com titled “Re: Address Etc”


       186       November 13, 2014 email from Mayor Maczka
                 Laura4richardsonmavor(«) mail.com to Jackie Pennington
                 Jackie@kdcommercial.net titled “Re: Maczka Residence 301
                 Overcreek.pdf’




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     EX. NO.                               DESCRIPTION
       187       March 4, 2015 email from Jill Jefferson to Mayor Maczka at
                 Iauramaczka@sbc2l0bal.net cc d to Mark Jordan at
                 Mjordan@jppartners.net titled Handbook

       188       March 11,2015 email from Jill Jefferson to Mayor Maczka at
                 laurmaczka@sbcglobal.net titled RE: Undated Offer Letter with an
                 attached employment offer letter from Sooner National Property
                 Management LP dated 03/02/2015

       189       Responses to March 11, 2015 email from Jill Jefferson to Mayor
                 Maczka. at Ia11ramaczka@sbc2l0bal.net titled “RE: Undated Offer
                 Letter”


       190       March 28, 2015 email from Gary Ri gs Home to
                 M30rdan@jp artners.net titled “Jefferson Work Order”

       191       April 20, 2015 email from Mayor Maczka at
                 Laura4richardsonmavor@2mail.com to Greg Sowell titled “WFAA”
       192       April 20, 2015 email chain, interview between Dallas Morning News
                 reporter and Mavor Maczka at laura4richardsonmavor@2mail.com
                 titled “Re: Questions”

       193       April 27, 2015 email chain forwarded from Mark Jordan
                 MJ@soonermanagement.com to Mavor Maczka
                 Lmaczka@JPpartners.net titled Fwd: CCHA Update: Palisades
                 Development History, Context and FAQs”

       194       May 18, 2015 email from Ross Lyle to Mayor Maczka at
                 Lmaczka@jpartners.net titled “Re: sunglasses”


       195       May 22, 2015 email chain between Laura Maczka at
                 Iauramaczka@sbc2l0bal.net and Wendv Hundlev titled “Re: Personal”

       196       August 14, 2015 email chain from Laura Maczka to Sarah Dodd, cc ing
                 Mark Jordan titled “Re: Builders plan hundreds of homes, apartments
                 in $700 million Richardson project - Dallas Morning News”

       197       November 2, 2015 email chain from Mayor Maczka
                 Lmaczka@JPPartners.net to Mark Jordan Miordan@JPDartners.net
                 titled “
                 RE: JP-Palisades III and IV to DF-4 Wood Palisades Owner”


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     EX. NO.                                 DESCRIPTION
       208B      Transcript Audio October 9, 2015 3:18 p.m. phone call Jackie Pennington
                 and Mark Jordan

       209A      Video October 18, 2016 meeting Sarah Catherine Norris and Mark Jordan

       209B      Transcript Video October 18, 2016 meeting Sarah Catherine Norris and
                 Mark Jordan

       211       April 2, 2015 WFAA Channel 8 News story still photo

       212B      Video footage of WFAA Channel 8 News story which aired on April 24,
                 2015

      212D       Video footage of FAA Channel 8 News story which aired on April 24,
                 2015

       212E      Video footage of WFAA Channel 8 News story which aired on April 24,
                 2015

       213       May 14, 2013 email from and to Sarah Catherine Norris Subject: MJ-
                 emailed

       214       August 29, 2014 email from and to Sarah Catherine Norris Subject: MJ-
                 emailed Pam

       215       2015 Sooner National Property Mgt. LP General Ledger

       218       July 7, 2015 Mark Jordan s Response to Interrogatories by Karen
                 Jordan in Case #15-00340-362, Denton County, Texas,
                 District Court

       219       K-D Commercial Flooring for Mayor Maczka’s residence


       224       Gary Riggs Home Furniture receipt/invoices, dated January to March
                 2015

       225       Te as Workforce Commission Records for Mayor Maczka



       226       Mayor Maczka Dermatologist file for visits on December 4, 2014 and
                 April 6, 2015

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     EX. NO.                               DESCRIPTION
       227       Collin County Marriage License for Mark and Laura Jordan dated
                 June 5, 2017

       228       2014 Mayor Maczka and Michael Maczka U.S. tax return



       229       2015 Mayor Maczka U.S. tax return
       230       2014 Mark and Karen Jordan U.S. tax return
       231       2015 Mark Jordan U.S. tax returns
       232       2015 U.S. tax Return of Partnership Income for Sooner National
                 Property Mana ement LP
       236       October 18, 2013 Google Earth Image of the Palisades property

       237       Overhead photo of the Palisades property presented to the Richardson
                 Plan Commission on November 5, 2013



       238       September 6, 2017 Google Earth Image of the Palisades property

       239       Julia Porter Invoices to Mayor Maczka

       240       February 21, 2015 email chain between Julia Porter and Mayor
                 Maczka at laura4richardsonmavor(S),gmail.com titled Re:
                 Disappointed

       241       February 20, 2015 email chain between Mayor Maczka at
                 laura4richardsonmavor(a)2mail.com and Julia Porter titled Fwd:
                 Palisades Opposition

       243       Facebook Messages between Mayor Maczka and Julia Porter from
                 September 7, 2014 to October 22, 2014



      244       Photograph of check in envelope with “Witch” written on the check
                and copy of complete check dated January 12, 2018 with “witch” and ©
                written on it



      245        Case Summary Sheet and Original Petition for Divorce related to Mark
                 and Karen Jordan dated January 15, 2015



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     EX. NO.                                DESCRIPTION
       246       Agreed Final Decree of Divorce related to Mark and Karen Jordan
                 dated August 16, 2016
       247       Agreed Final Decree for Divorce related to Michael and Laura Maczka
                 dated January 8, 2015

       248       City of Richardson Press Release May 16, 2018

       249       Sooner Management Leasing Report for active leases for various
                 properties

       250       Summary for 249

       251       Demand for Arbitration listing JP-RICHARDSON, LLC, as the
                 plaintiff, and KBS SOR RICHARDSON PORTFOLIO JV, LLC, as
                 the respondents dated January 10, 2018

       252       Deposition of Mark Jordan Dated November 12, 2018

       253       Deposition of Mark Jordan Dated October 16, 2018

       255       January 23, 2019 Certification of License History for Mark Jordan

       256       Te as Real Estate Commission Ethics MCE, Edition 2.1 dated March
                 2006

       257       Texas Real Estate Commission Ethics MCE, Edition 3.0 dated
                 September 2007

       258       Texas Real Estate Commission Ethics MCE, Edition 5.0

       260       January 23, 2019 Certification of License History for Tor Erickson

       261       January 24, 2019 Certification of records search for Laura Maczka

       262       Lease Approval/Summaries for 2015 signed by Laura Maczka (Leasing
                 Agent)

       263       Lease Approval/Summaries for 2016 signed by Laura Maczka (Leasing
                 Agent)




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     EX. NO.                               DESCRIPTION
       264       Lease Approval/Summaries for 2017 signed by Laura Maczka/Jordan
                 (Leasin Agent)

       265       Lease Approval/Summaries for January 10, 2018 signed by Laura
                 Jordan (Leasing Agent)

       266       Sooner Management Our People section screenshot from Wayback
                 Machine website dated December 27, 2015 through August 11, 2017
                 sho ing Laura Maczka as Leasing

       267       Sooner Management Our People screenshot from January 28, 2019
                 showing Laura Jordan as HR, Communications and Administration

       268       Sooner Management Portfolio section screenshot from Wayback
                 Machine website dated February. 6, 2016

       269       Undated Sooner Management advertisement for The Aberdeen
                 Building which lists Laura Maczka as a point of contact

       270       Undated Sooner Management advertisement for The Atrium at Bent
                 Tree

       271       Amended Demand for Arbitration listing JP-RICHARDSON, LLC, as
                 the plaintiff, and KBS SOR RICHARDSON PORTFOLIO JV, LLC,
                 as the respondents
                 Dated January 25, 2018




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